                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA
                                                                                Chapter 13
                                                     Bankruptcy No.              23-50278
                                                     Adversary No.
     In Re:                                  )
     Ryan and Alyssa Schulz,                 )
                                             )
                              Debtor,        )
                                             )
     Ryan and Alyssa Schulz,                 )
                                             )
                              Plaintiffs,    )        ADVERSARY COMPLAINT
     vs.                                     )
                                             )
     LeMieux Properties, LLC,                )
                                             )
                              Defendant.     )
                                             )
                                             )

           As and for their Adversary Complaint, Plaintiffs Ryan and Alyssa Schulz

(“Plaintiffs”) states and alleges as follows:

                                JURISDICTION AND VENUE

1.         Plaintiffs bring this adversary complaint in the above-captioned case, which was

           filed on June 2, 2023, under Chapter 13 of Title 11, United States Code.


2.         Pursuant to Federal Rules of Bankruptcy Procedure, Part VII – Adversary

           Proceedings, Rule 7008, Plaintiffs consent to entry of final orders or judgment by

           this Bankruptcy Court.


3.         The Court, therefore, has jurisdiction over this proceeding, which arises in a case

           under the Bankruptcy Code and concerns debts and property of Plaintiffs and/or the
      bankruptcy estate, pursuant to 28 U.S.C. § 1334. This is a core proceeding under 11

      U.S.C. § 157(b)(2)(F) and venue is proper under 28 U.S.C. § 1409(a).


                                  INTRODUCTION

4.    This Complaint seeks to remedy violations of the Stay provisions of the Bankruptcy

      Code by Defendant above-named, who affirmatively continued collection activity

      after multiple notifications of the filing of a Chapter 13 Voluntary Petition in this

      case, in violation of the Stay provisions of the Bankruptcy Code, 11 U.S.C. § 362.

                                         FACTS

5.    Plaintiffs are a natural person and a debtor in this proceeding whose debts are

      “consumer debts” as defined in 11 USC § 101(8).

6.    Defendant has a registered office address at 13570 Grove Drive, #357 Maple Grove,

      MN 55311, and at all times relevant herein conducted business in this district. It is

      a pre-petition creditor, as the debt it is collecting originated prior to the filing of the

      aforesaid bankruptcy case.

7.    Sometime prior to June of 2023, Plaintiffs incurred a financial obligation with

      Defendant.

8.    On June 2, 2023, Plaintiffs filed a petition under Chapter 13 of the Bankruptcy Code.

9.    On June 4, 2023, Defendant received notice of Plaintiffs’ bankruptcy via first class

      mail.

10.   On November 7, 2023, Defendant sent a 10-Day Notice for Eviction to Plaintiffs

      stating that Plaintiffs had a past due balance of $3,985 that needed to be paid in full



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      by November 17, 2023, or they needed to be out of the apartment by November 18,

      2023 at 5:00 pm.

11.   On November 8, 2023, McKaylin Grimsley, an agent for Plaintiffs’ bankruptcy

      attorney sent a letter via e-mail to Defendant explaining the Plaintiffs’ rights under

      the Automatic Stay.

12.   On November 8, 2023, Julie LeMieux, an agent for Defendant, emailed Ms.

      Grimsley requesting an update on the past due payments and stating, in part,

      “It is my understanding that because of their missed payments, we are entitled to

      petition the court for a relief from stay and re-instate eviction proceedings.”

13.   On November 20, 2023, Plaintiffs’ bankruptcy attorney, Amanda Rosback, emailed

      Defendant requesting a ledger showing the post-bankruptcy filing rent owed and let

      Defendant know that a check was being mailed by a third-party for October and

      November rent.

14.   On November 21, 2023, Ms. LeMieux emailed Attorney Rosback stating that

      because Plaintiffs had full access to their ledger in regard to what they owed, she

      could request the information from them.

15.   On February 27, 2025, Defendant sent Plaintiffs a Notice to Quit and informed

      Plaintiffs they will not be renewing their month-to-month lease and must vacate the

      property no later than March 31, 2025.

16.   On March 1, 2025, Plaintiffs contacted Defendant after receiving this letter to see if

      there were other options, but were told by Defendant nothing could be done, and

      they must vacate the property by March 31, 2025.


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17.   On March 14, 2025, Plaintiffs made a rent payment to bring their balance up to date.

18.   On March 26, 2025, Defendant sent Plaintiff a text stating, in part, the following:

      “Reminder: You need to be completely moved out of your unit and keys turned into

      Jason by next Monday March 31st. Failure to vacate will result in eviction per the

      notice. If you don’t have a place to move yet, I’d suggest renting a storage unit to

      move all of your belongings and check into a motel or maybe move in with a friend

      or family member until you can secure housing. I’d also check with Oasis to see if

      they have any housing options for you and your family. Staying in her unit is not an

      option.”

19.   Defendant’s actions following February 27, 2025, the date that Defendant sent

      Plaintiffs a Notice to Quit without prior approval from the Bankruptcy Court, were

      willful and in full knowledge of Plaintiffs’ bankruptcy filing and the Bankruptcy

      Court’s Automatic Stay.

20.   Additionally, as noted in Paragraph 12, Defendant was aware of the process to

      obtain relief from the Automatic Stay from the Court prior to initiating Eviction

      proceedings. As such, Defendant’s action in sending two (2) Notices to Quit were

      willful and intentional acts.

21.   In its actions set forth above, Defendant has violated the stay provisions of the

      Bankruptcy Code, including but not limited to 11 U.S.C. § 362(a)(3).

22.   Plaintiffs have suffered actual damages in the form of emotional distress because of

      Defendant’s unlawful collection communications. Plaintiffs believed that they were

      protected by the Bankruptcy Code. Because of Defendant’s unlawful and continued


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      collection campaign, Plaintiffs have suffered sleeplessness, restlessness, irritability,

      feelings of hopelessness, and embarrassment.

                                 CAUSES OF ACTION

                                        COUNT I.

          VIOLATIONS OF THE BANKRUPTCY STAY PROVISION –
                         11 U.S.C. § 362(a)(3)

23.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

      though fully stated herein.

24.   Defendant violated 11 U.S.C. § 362(a)(3) by committing acts to obtain possession

      of property of the estate or of property from the estate or to exercise control over

      property of the estate, in its attempts to collect prepetition debt.

25.   As a result of Defendant’s violations of 11 U.S.C. § 362(a)(3), Plaintiffs have

      suffered actual damages not limited to sleeplessness, restlessness, irritability,

      feelings of hopelessness, and embarrassment in an amount to be determined at trial.

26.   Defendant’s conduct, actions, and inactions were willful, rendering it liable for

      damages, including costs and attorneys’ fees, and punitive damages in an amount to

      be determined by the Court pursuant to 11 U.S.C. § 362(k)(1).

                                 PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays that the Court:

         a. Hold Defendant in contempt of court for knowingly, willfully, and

             deliberately violating 11 U.S.C. § 362(a)(3);

         b. Order Defendant to cease all other collection efforts against Plaintiff;



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         c. Award to Plaintiff compensatory damages, sanctions, punitive damages, and

            attorney's fees for contempt of court and pursuant to 11 U.S.C. §§ 105(a) and

            362(k); and

         d. Order all other relief that is just and proper.




                                                 Respectfully submitted,

Dated:    March 27, 2025                          /e/ Mark L. Vavreck

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